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14
                            UNITED STATES DISTRICT COURT
15
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,               SA CR No. 19-061-JVS
17
               Plaintiff,                    GOVERNMENT’S SUBMISSION REGARDING
18                                           DEFENDANT MICHAEL JOHN AVENATTI’S
                     v.                      REPRESENTATION ISSUES
19
     MICHAEL JOHN AVENATTI,                  Hearing Date: May 7, 2019
20                                           Hearing Time: 10:00 a.m.
               Defendant.                    Location:     Courtroom of the
21                                                         Hon. James V. Selna

22

23        In advance of the status conference scheduled for May 7, 2019,

24   in United States v. Michael John Avenatti, SA CR No. 19-061-JVS,

25   plaintiff United States of America, by and through its counsel of

26   record, the United States Attorney for the Central District of

27   California and Assistant United States Attorneys Julian L. André and

28   Brett A. Sagel, hereby submits the following statement setting forth
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1    the government’s position regarding defendant MICHAEL JOHN AVENATTI’s

2    representation issues.     As set forth therein, the government submits

3    that if defendant has not yet retained counsel to represent him in

4    this matter, the Court should order defendant to fill out a financial

5    affidavit, immediately appoint counsel to represent defendant, and,

6    if appropriate, order defendant to contribute some or all of the

7    costs of his representation.

8         This submission is based upon the attached memorandum of points

9    and authorities, the files and records in this case, and such further

10   evidence and argument as the Court may permit.

11   Dated: May 6, 2019                   Respectfully submitted,

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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2         Defendant MICHAEL JOHN AVENATTI (“defendant”) is charged in a

3    36-count indictment with wire fraud; willful failure to pay over

4    withheld payroll taxes; endeavoring to obstruct the administration of

5    the Internal Revenue Code; willful failure to file tax returns; bank

6    fraud; aggravated identity theft; and making false declarations and

7    providing false testimony in bankruptcy proceedings.          (CR 16 (the

8    “Indictment”).)    After defendant appeared for his post-indictment

9    arraignment (“PIA”) without counsel (CR 23), this Court scheduled a

10   status conference for May 7, 2019, to address defendant’s

11   representation issues.     (CR 22.)    As of the date of the instant

12   filing, the government has received no notice or other information

13   indicating that defendant has retained counsel or otherwise resolved

14   his representation issues.

15        If defendant appears at the status conference without counsel,

16   the Court will undoubtedly inquire as to how defendant intends to

17   proceed.   The government, however, does not believe that there is any

18   valid reason why defendant has yet to resolve his representation

19   issues and is concerned that defendant will seek to use such issues

20   to unnecessarily delay this prosecution.        Thus, if defendant appears

21   without counsel, regardless of defendant’s explanation as to why he

22   has yet to obtain counsel, the government believes the appropriate

23   course of action would be for the Court to immediately appoint

24   counsel to represent defendant going forward.

25        First, the trial in this matter is currently set for June 4,

26   2019.   (CR 23.)   With the initial trial date only four weeks away, it

27   is critical that defendant be represented by counsel immediately so

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1    that this prosecution can proceed in a timely and appropriate

2    fashion.

3         Second, there is a strong public interest in ensuring that this

4    case proceed to trial as soon as possible.         The Indictment alleges

5    that the victims of the wire fraud counts in this case have lost

6    millions of dollars as a result of defendant’s fraudulent conduct;

7    they have a statutory right to have this case proceed and these

8    allegations be resolved without unnecessary delay.          18 U.S.C.

9    § 3771(7).   Indeed, one of defendant’s alleged victims, Client 1, had

10   been dependent on defendant for basic living expenses for the last

11   four years and recently lost his Supplemental Security Insurance

12   benefits as a result of defendant’s conduct.         (See Indictment

13   ¶ 7(j).)   Additionally, the public’s interest in a speedy trial is

14   particularly heightened here because a number of other cases

15   involving defendant will likely be delayed pending resolution of this

16   prosecution.   These cases include, among others, the separate

17   extortion-related criminal charges pending against defendant in the

18   Southern District of New York, United States v. Avenatti, No. 1:19-

19   MJ-2927 (S.D.N.Y) (the “SDNY Prosecution”), 1 and a civil judgment-

20   debtor case involving defendant’s law firm pending in this district,

21   In re Eagan Avenatti, No. 8:18-CV-1644-VAP (C.D. Cal.) (the

22   “Judgement-Debtor Case”).

23        Third, defendant has already had a substantial period of time to

24   resolve his representation issues in this matter.          Defendant made his

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          1  The government understands that defendant has not yet
27   retained counsel to represent him in the SDNY Prosecution either. On
     or about April 25, 2019, defendant waived his right to be charged by
28   information or indictment for an additional 30 days so that he could
     obtain counsel. See SDNY Prosecution, Dkt. 7.
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1    initial appearance in this case six weeks ago on March 25, 2019.               (CR

2    13; CR 15.)    Defendant made his initial appearance in this district

3    on April 1, 2019, and had retained counsel representing him at that

4    time.    (CR 10.)   The indictment in this case was filed on April 10,

5    2019, nearly one month ago.      (CR 16.)    Indeed, at PIA defendant

6    stated that he was in the process of “finalizing” his representation.

7         Defendant also appears to have the financial wherewithal to

8    retain counsel.     Defendant is currently represented by retained

9    counsel in other litigation matters.        See, e.g., In re The Trial

10   Group, LLP a/k/a Eagan Avenatti, LLP, No. 8:19-BK-10822-CB (C.D.

11   Cal.); In re Eagan Avenatti, No. 8:18-CV-1644-VAP (C.D. Cal.).

12   Defendant recently stated in a nationally-televised interview on CNN

13   that he is “not broke” and is not having any money problems. 2           See

14   Sara Sidner, After a year in the spotlight, Michael Avenatti claims

15   “I’ve been humbled”, CNN (Apr. 27, 2019, 5:19 p.m.),

16   https://www.cnn.com/2019/04/26/politics/michael-avenatti-

17   humbled/index.html.    The government also understands that as recently

18   as April 2019 defendant was renting a luxury condominium for

19   approximately $11,000 per month.

20        Additionally, on April 26, 2019, the Friday before defendant’s

21   Monday PIA, defendant posted the following message on Twitter.com:

22   “Please note that I will be severely limiting my tweets regarding

23   either criminal case as we prepare for trial across the coming months

24   or more.    I am very fortunate to have some of the best lawyers in

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26        2  To the extent defendant’s public statements are accurate,
     defendant should be required to make a full contribution for any
27   legal services that have been or will be provided to him by appointed
     counsel. To the extent these public statements are inaccurate, there
28   is no reason why defendant should not seek the immediate appointment
     of counsel.
                                        3
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1    America advising me.”     Defendant’s failure to retain counsel by PIA,

2    or to date, would appear to signify that defendant either does not

3    have the resources to obtain counsel, or is not retaining counsel for

4    purposes of delay.    Because there does not appear to be any valid

5    reason why defendant has been unable to resolve his representation

6    issues thus far, there is no reason for the Court to delay appointing

7    counsel if defendant appears at the status conference without

8    counsel.

9         Finally, the government is concerned that defendant will use his

10   representation issues to delay this prosecution unnecessarily.

11   Defendant has a pattern and practice of using delay tactics to avoid

12   responsibility for his conduct.       For example, as alleged in the

13   Indictment, defendant repeatedly sought to lull his former legal

14   clients in an effort to prevent them from discovering that he had

15   embezzled their money. (See Indictment ¶ 7.)         Similarly, defendant

16   repeatedly sought to impede and obstruct an Internal Revenue Service

17   (“IRS”) collection action relating to defendant’s company, Global

18   Baristas US LLC (“GBUS”), in an effort to avoid having to pay to the

19   IRS the payroll taxes that GBUS had withheld from its employees

20   paychecks.   (See Indictment ¶¶ 10-26.)

21        Defendant has also repeatedly sought to delay civil or

22   bankruptcy proceedings in which defendant and/or defendant’s law

23   firm, Eagan Avenatti LLP (“EA LLP”), were involved.          Most recently,

24   on March 7, 2019, defendant filed a bankruptcy petition on behalf of

25   EA LLP in In re The Trial Group, No. 8:19-BK-10822-CB.           This petition

26   appears to have been filed for the specific purpose of delaying a

27   judgment debtor exam of defendant that had been scheduled for March

28   8, 2019, in the Judgment-Debtor Case.        Defendant, however, did not

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1    have authorization to file such a petition because in February 2019

2    defendant stipulated to the appointment of a receiver who had

3    complete authority to oversee EA LLP’s business affairs, including

4    the decision to file for bankruptcy.       In re Eagan Avenatti, No. 8:18-

5    CV-1644-VAP, Dkt. No. 53 (Feb. 12, 2019).        The Honorable Catherine E.

6    Bauer, United States Bankruptcy Judge, dismissed the bankruptcy

7    petition for this very reason and issued an Order to Show Cause to

8    determine whether defendant should be sanctioned for this conduct,

9    which Judge Bauer scheduled for May 8, 2019. 3        In re The Trial Group

10   LLP, No. 8:19-BK-10822, Dkt. Nos. 35, 39.

11        In conclusion, the government submits that if defendant appears

12   at the statue conference without counsel the appropriate course of

13   action would be for the Court to order defendant to submit a

14   financial affidavit, immediately appoint counsel to represent

15   defendant in this matter, and, if appropriate, order defendant to

16   contribute some or all of the costs of his representation.           If

17   defendant later obtains retained counsel, retained counsel can be

18   substituted in to represent defendant at that time.          Although the

19   government recognizes that defendant has a right to be represented by

20   retained counsel if he so choses, defendant should not be allowed to

21   delay this case indefinitely while he resolves his representation

22   issues.

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          3 On April 17, 2019, defendant filed a motion to stay the
26   contempt proceedings and the May 8, 2019, Order to Show Cause hearing
     pending resolution of this criminal prosecution. In re The Trial
27   Group LLP, No. 8:19-BK-10822, Dkt. No. 45. As of the date of the
     instant filing, defendant’s motion to stay was still pending before
28   the bankruptcy court. As noted above, defendant is represented by
     retained counsel in the bankruptcy proceedings.
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